 

_ , action should not be dismissed for lack of prosecution.

v4

a

Case 2:07-cv-00386-SJO-AJVJNDED STATES DISTRICTISZOUREge 1 of 1 Page ID #:24

ORIGINAL

CASE NO.: CV07-386 SJO (AJWx) DATE: April 13, 2007

TITLE: Cimex Invest, Inc., et al. v. Derek Anderson, et al.

CIVIL MINUTES - GENERAL

a
ee SS oe

PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz . Not Present
Courtroom Clerk Court Reporter

COUNSEL PRESENT FOR PLAINTIFF(S): COUNSEL PRESENT FOR DEFENDANT(S):

Not Present . Not Present

se = a wer A
ee —— 2 eo _

PROCEEDINGS (iN CHAMBERS): ORDER TO SHOW CAUSE RE DISMISSAL FOR
- LACK OF PROSECUTION .

Plaintiff is hereby ordered to show cause in writing by not later than April? 27, 2007 why this

a hee

The court will consider the filing of the following as an appropriate response to this Order

- to Show Cause, on or before the above date:

~~

. Plaintiff's filing of a motion for entry of default judgment.

In accordance with Rule 78 of the Federal Rules of Civil Procedure and Local Rule 7-15,
no oral argument of this matter will be heard unless ordered by the court. The Order will stand

submitted upon the filing of the response to the Order to Show Cause. Failure to respond to the
court's Order may result in the dismissal of the action.

IT IS SO ORDERED.

ow, S
Priority —f
Send ——
i Enter —_—
Closed —_——
“| y8-5(1S-6
i J§-2/JS-3 ——-

Scan Only ——-

MINUTES FORM 11!—-
CIVIL GEN

 

1 Initials of Preparer ~ Vv

~
@

ry
